Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 1 of 18 PAGEID #: 1380



                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


ROY KULICK, M.D.,                    :
                                     :
             Plaintiff,              :      NO. 1:09-CV-00167
                                     :
      v.                             :
                                     :
ETHICON ENDO-SURGERY, INC.,          :      OPINION AND ORDER
et al.,                              :
                                     :
             Defendants.             :




             This matter is before the Court on Defendants’ Motion for

Summary Judgment (doc. 37), Plaintiff’s Response in Opposition

(doc. 44), and Defendant’s Reply (doc. 48).                  For the reasons

indicated herein, the Court GRANTS in part and DENIES in part

Defendants’ Motion.

I.   Background

             Plaintiff    Roy   Kulick    started    working    for   Defendant

Ethicon-Endo Surgery, Inc. (“EES”) as a clinical research director

in June 2006 (doc. 14). According to Defendants, only within a few

weeks of his employment he began alienating his peers and co-

workers, he sent hostile emails, engaged in threatening conduct,

and created an irreparable rift with the group for which he was

hired (doc. 37).      Defendants claim that when Plaintiff was unable

to work with that group, Plaintiff was reassigned and even given a

coach to help him improve his communication style and relationships

(Id.).        Despite such efforts, Defendants contend, Plaintiff
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 2 of 18 PAGEID #: 1381



continued to act inappropriately to such an extent that a co-worker

raised a concern that Plaintiff posed threat in the workplace

(Id.).      Based on such report, Defendant EES placed Plaintiff on

paid leave and required Plaintiff to undergo a fitness for duty

evaluation (Id.).       Plaintiff was eventually cleared to return to

work as he was found to pose no danger (Id.).              However, according

to Defendants, Plaintiff was unable to change his behavior, and

actually yelled at his direct supervisor, Ken Sumner, and refused

to perform specific tasks Sumner assigned to him (Id.). Defendants

state that based on Plaintiff’s insubordination, and his pattern of

poor performance and behavior, EES terminated his employment (Id.).

             According to Plaintiff, Defendants offer a skewed version

of the facts, as his role required him to challenge his fellow

employees, and he was instructed by his manager, Ken Dobler, to do

so (doc. 44).      In Plaintiff’s view the nature of such role led to

conflict and strained relationships with some of his co-workers,

but he nonetheless maintained productive and positive relationships

with the majority of his co-workers, and a particularly positive

relationship with EES’s clinical organization (Id.).               He contends

he received consistent praise from both Dobler and Sumner, who

actually presented him with a special award for his hard work, in

early 2007 (Id.). Plaintiff’s evaluations show he had good ratings

and he got along quite well with Sumner (Id.).             In February, 2007,

however, Plaintiff was disappointed with the raise and bonus he


                                        2
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 3 of 18 PAGEID #: 1382



received, which in his view did not accord with representations EES

made to him when it recruited him (Id.).                    In a meeting on February

22,    2007,    Plaintiff       met   with       Sumner    and     a   human      resources

representative,         after    which   Sumner          characterized        Plaintiff’s

behavior as “uncharacteristically hostile and verbally combative,”

and    “unacceptably      aggressive”        (Id.).             Sumner      did   not    warn

Plaintiff that he viewed Plaintiff’s behavior as inappropriate, but

did record in February that “a clinical evaluation of [Plaintiff’s]

health should be considered” (Id.).                    Plaintiff contends the record

shows that Sumner did not request such a “clinical evalution” as of

February (Id.).

               Following the news of the fatal schootings at Virginia

Tech     in    April    2007,    Lori    Chowning,             (“Chowning”),       Sumner’s

administrative         assistant,     expressed          her    view   to    Sumner      that

Plaintiff could pose a threat to Sumner and perhaps to other co-

workers (Id.).           Sumner, who previously had no such concern,

reported to Dobler and Holly DeSantis, of human resources, that he

wanted     Plaintiff’s      “emotional           and     mental    capability       to    be

evaluated” (Id.).         Sumner indicated to DeSantis that Plaintiff had

sent him “hostile e-mails,” as well as demonstrated verbal and

nonverbal aggressiveness in meetings (Id.). Sumner further likened

Plaintiff to the Virginia Tech killer, stating that “the killer was

deemed to show behaviors of being a ‘victim’ and a ‘bully.’ I would

use the same words to describe [Plaintiff’s] behavior” (Id.).


                                             3
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 4 of 18 PAGEID #: 1383



               As a result of Sumner and Chowning’s concerns, Dobler and

DeSantis informed Plaintiff that two employees expressed concern

for their safety, and that Plaintiff was being put on a leave of

absence and would need to leave the premises immediately (Id.).

Plaintiff indicates he was humiliated (Id.).                 Plaintiff’s leave

lasted from April 23 to May 21, 2007, during which time Plaintiff

met with a physician to whom EES referred him for evaluation (Id.).

The physician cleared Plaintiff to return to work as of May 2, 2007

(Id.).

               While on leave, Plaintiff hired an attorney to oppose

Defendants’ having put him on leave and requiring him to undergo a

psychological examination (Id.). Plaintiff’s counsel corresponded

with    both    DeSantis   and    with   EES    in-house    attorneys    (Id.).

According to Plaintiff, DeSantis expressed to Plaintiff that she

was annoyed Plaintiff had hired counsel, as she could not talk to

him directly about certain issues in her human resources role

(Id.).    In Plaintiff’s view, Defendants’ annoyance with his having

retained counsel was manifested on May 21, 2007, when, upon his

return from leave, Sumner presented him with a written warning

based on the conduct allegedly serving as a basis for the leave

(Id.).

               In early August, 2007, Plaintiff contends that EES in-

house    attorney     Robert     Fletcher      informed    him   that   his   “job

performance and his relationships with colleagues and management


                                         4
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 5 of 18 PAGEID #: 1384



have improved” since his return to work, that he had accepted

additional responsbilities, and that he was continuing to meet

expectations (doc. 44).            However, by August 14, 2007, DeSantis

warned Plaintiff that his job was in jeopardy and that he should

leave while his performance was still considered good (Id.).                  On

August 23, 2007, Sumner and DeSantis met with Plaintiff to inform

him he was being fired for insubordination (Id.).                   However, a

memorandum Sumner prepared on August 22, 2007, showed that Sumner,

in recommending Plaintiff’s termination, referred to Plaintiff’s

mental health, to the Virgina Tech tragedy, and to the perception

of Plaintiff as a “possible shooter” (Id.).

             Plaintiff brought his Complaint on March 10, 2009, which

includes allegations that Defendants terminated Plaintiff because

1)    they   regarded   him   as    having   a   disability,   2)   because   he

consulted an attorney, and 3) because he opposed their unlawful

conduct, specifically, their having put him on leave and forcing

him to undergo psychological examination (doc. 14).                 Defendants

filed the instant motion for summary judgment, contending they

fired Plaintiff for insubordination and a pattern of unacceptable

behavior, and not for any improper reason (doc. 37). Plaintiff has

responded, and Defendants replied (docs. 44, 48), such that this

matter is ripe for the Court’s consideration.

II.    Applicable Legal Standard

             Although a grant of summary judgment is not a substitute


                                        5
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 6 of 18 PAGEID #: 1385



for trial, it is appropriate “if the pleadings, depositions,

answers to interrogatories, and admissions on file, together with

the affidavits, if any, show that there is no genuine issue as to

any material fact and that the moving party is entitled to a

judgment as a matter of law.”         Fed. R. Civ. P. 56; see also, e.g.,

Poller v. Columbia Broadcasting System, Inc., 368 U.S. 464 (1962);

LaPointe v. United Autoworkers Local 600, 8 F.3d 376, 378 (6th Cir.

1993); Osborn v. Ashland County Bd. of Alcohol, Drug Addiction and

Mental Health Servs., 979 F.2d 1131, 1133 (6th Cir. 1992) (per

curiam).      In reviewing the instant motion, “this Court must

determine whether the evidence presents a sufficient disagreement

to require submission to a jury or whether it is so one-sided that

one party must prevail as a matter of law.”             Patton v. Bearden, 8

F.3d 343, 346 (6th Cir. 1993), quoting in part Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 251-252 (1986) (internal quotation marks

omitted).

             The process of moving for and evaluating a motion for

summary judgment and the respective burdens it imposes upon the

movant and the non-movant are well settled.                  First, “a party

seeking summary judgment ... bears the initial responsibility of

informing the district court of the basis for its motion, and

identifying those portions of [the record] which it believes

demonstrate the absence of a genuine issue of material fact [.]”

Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); see also


                                        6
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 7 of 18 PAGEID #: 1386



LaPointe, 8 F.3d at 378; Guarino v. Brookfield Township Trustees,

980 F.2d 399, 405 (6th Cir. 1992); Street v. J.C. Bradford & Co.,

886 F.2d 1472, 1479 (6th Cir. 1989).                The movant may do so by

merely identifying that the non-moving party lacks evidence to

support an essential element of its case. See Barnhart v. Pickrel,

Schaeffer & Ebeling Co., L.P.A., 12 F.3d 1382, 1389 (6th Cir.

1993).

             Faced     with    such   a   motion,    the   non-movant,     after

completion of sufficient discovery, must submit evidence in support

of any material element of a claim or defense at issue in the

motion on which it would bear the burden of proof at trial, even if

the moving party has not submitted evidence to negate the existence

of that material fact.         See Celotex, 477 U.S. at 317; Anderson v.

Liberty Lobby, Inc., 477 U.S. 242 (1986).            As the “requirement [of

the Rule] is that there be no genuine issue of material fact,” an

“alleged factual dispute between the parties” as to some ancillary

matter “will not defeat an otherwise properly supported motion for

summary judgment.” Anderson, 477 U.S. at 247-248 (emphasis added);

see generally Booker v. Brown & Williamson Tobacco Co., Inc., 879

F.2d   1304,    1310    (6th   Cir.   1989).     Furthermore,     “[t]he    mere

existence of a scintilla of evidence in support of the [non-

movant’s] position will be insufficient; there must be evidence on

which the jury could reasonably find for the [non-movant].”

Anderson, 477 U.S. at 252; see also Gregory v. Hunt, 24 F.3d 781,


                                          7
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 8 of 18 PAGEID #: 1387



784 (6th Cir. 1994).          Accordingly, the non-movant must present

“significant probative evidence” demonstrating that “there is [more

than] some metaphysical doubt as to the material facts” to survive

summary judgment and proceed to trial on the merits.                   Moore v.

Philip Morris Cos., Inc., 8 F.3d 335, 339-340 (6th Cir. 1993); see

also Celotex, 477 U.S. at 324; Guarino, 980 F.2d at 405.

             Although the non-movant need not cite specific page

numbers of the record in support of its claims or defenses, “the

designated portions of the record must be presented with enough

specificity that the district court can readily identify the facts

upon which the non-moving party relies.” Guarino, 980 F.2d at 405,

quoting Inter-Royal Corp. v. Sponseller, 889 F.2d 108, 111 (6th

Cir. 1989) (internal quotation marks omitted).              In contrast, mere

conclusory allegations are patently insufficient to defeat a motion

for summary judgment.        See McDonald v. Union Camp Corp., 898 F.2d

1155, 1162 (6th Cir. 1990).           The Court must view all submitted

evidence,     facts,   and   reasonable     inferences     in   a   light   most

favorable to the non-moving party. See Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986); Adickes v. S.H.

Kress & Co., 398 U.S. 144 (1970); United States v. Diebold, Inc.,

369 U.S. 654 (1962). Furthermore, the district court may not weigh

evidence or assess the credibility of witnesses in deciding the

motion.    See Adams v. Metiva, 31 F.3d 375, 378 (6th Cir. 1994).

             Ultimately, the movant bears the burden of demonstrating


                                        8
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 9 of 18 PAGEID #: 1388



that no material facts are in dispute. See Matsushita, 475 U.S. at

587.    The fact that the non-moving party fails to respond to the

motion does not lessen the burden on either the moving party or the

Court to demonstrate that summary judgment is appropriate.                   See

Guarino, 980 F.2d at 410; Carver v. Bunch, 946 F.2d 451, 454-455

(6th Cir. 1991).

III.    Analysis

             As an initial matter the Court notes that Plaintiff has

conceded summary judgment as to his claims for breach of contract,

promissory estoppel, and wrongful termination based upon a request

to contact the Food and Drug Administration (doc. 44).                 As such,

the Court GRANTS summary judgment as to such claims.                Plaintiff’s

remaining claims, therefore are for disability discrimination,

retaliation,      and   for    violation    of   public    policy   for    having

consulted    an    attorney.      The   Court    will     analyze   such   claims

seriatum.

       A.   Disability Discrimination

             In order to establish a prima facie case for disability

discrimination, Plaintiff here must make a showing that 1) he was

regarded as having a disability, 2) that he could perform the

essential duties of his job, and 3) that he was subjected to an

adverse employment action because of his disability.                 Johnson v.

City of Mason, 101 F. Supp. 2d 566, 573 (S.D. Ohio 2000).

Defendants challenge Plaintiff’s ability to establish such prima


                                        9
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 10 of 18 PAGEID #: 1389



 facie case, citing precedent that it is not impermissible to

 require a difficult employee to undergo an evaluation, that placing

 such an employee on paid leave for an evaluation is not an adverse

 action, and finally that emotional volatility or imbalance is not,

 as a matter of law, a disability (doc. 37, citing Mickens v. Polk

 County School Board, 430 F. Supp.2d 1265, 1273-74 (M.D. Fla. 2006),

 Watson v. City of Miami Beach, 177 F.3d 932, 935 (11th Cir. 1999),

 Krocka v. City of Chicago, 203 F.3d 507, 515 (7th Cir. 2000)).

 Plaintiff responds that there is plenty of evidence that Defendants

 regarded him as having a mental impairment, when as early as

 February 2007, Sumner expressed that a clinical evaluation of

 Plaintiff    should    be    considered      (doc.   44).     Soon    thereafter,

 evidence shows that Plaintiff’s mental health became a topic of

 conversation among Sumner, Dobler, and others, and that Chowning

 likened Plaintiff to the Virginia Tech killer (Id.).                       Plaintiff

 contends his forced leave can be considered an adverse action due

 to its unreasonable length, noting that he was not permitted to

 return even after the medical evaluation cleared him to do so (Id.

 citing Brown v. Cox, 286 F.3d 1040, 1045 (8th Cir. 2002)(an adverse

 employment action need not always involve a decrease in benefits or

 pay), Peltier v. United States, 388 F.3d 984, 988 (6th Cir. 2004)(a

 suspension     with    pay    and   full      benefits      pending    a     timely

 investigation     into      suspected     wrongdoing     is   not     an    adverse

 employment action).           Plaintiff contends he was subjected to


                                         10
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 11 of 18 PAGEID #: 1390



 involuntary leave that was not “timely,” and as such, a jury could

 find that such leave constituted an adverse action (Id.). Finally,

 Plaintiff    argues    that    Sumner    justified    Plaintiff’s     ultimate

 termination in recounting “concern for Roy’s mental health,” to

 liken Plaintiff to “a possible shooter” (Id.).            Plaintiff contends

 this is obvious evidence that a reasonable jury could conclude

 supports the theory that Defendants viewed him as disabled when

 they took the adverse action of terminating his employment (Id.).

             Having reviewed this matter, the Court finds Plaintiff’s

 position well-taken that there is adequate evidence in the record

 for Plaintiff to support his prima facie case for disability

 discrimination.      Although the Court agrees with Defendant that in

 most cases a paid leave with full benefits normally does not

 constitute an adverse employment action, Peltier, 388 F.3d 988, the

 Court finds well-taken Plaintiff’s argument that such a leave could

 constitute an adverse action should it extend beyond a reasonable

 time.   Here, a jury could find that Defendants kept Plaintiff away

 from his work for weeks despite his having been cleared by a doctor

 to return.         According to Plaintiff’s deposition, even Holly

 DeSantis characterized the length of his leave as “ridiculous”

 (doc. 34).       Moreover, there is no question that Plaintiff’s

 ultimate termination can, as a matter of law, constitute an adverse

 employment action, and there is enough evidence in Sumner’s remarks

 to suggest Defendants linked Plaintiff’s termination to their


                                         11
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 12 of 18 PAGEID #: 1391



 perception that Plaintiff had a mental impairment.                   Under these

 circumstances, the Court finds that Plaintiff can establish a prima

 facie case for disability discrimination.                Ross v. Campbell Soup

 Co., 237 F.3d 701, 706 (6th Cir. 2001)(the question of whether an

 employer regarded an employee as disabled, which goes to state of

 mind and motivation, “is rarely susceptible to resolution at the

 summary judgment stage”).

              Having determined that Plaintiff can establish a prima

 facie case for disability discrimination, the burden shifts to

 Defendants to proffer a legitimate non-discriminatory justification

 for their actions. McDonnell Douglas Corp. v. Green, 411 U.S. 792,

 802 (1973).         Defendants argue they were justified in placing

 Plaintiff on leave based on a pattern of hostile interactions with

 employees, including one incident when Plaintiff punched a wall.

 Defendants further contend they were justified in terminating

 Plaintiff’s employment after Plaintiff refused direct orders from

 Sumner unless he was reimbursed for travel expenses and when he

 failed to complete tasks with regard to the advisory board (doc.

 37).

              To    demonstrate    evidence     of   pretext,      Plaintiff     must

 provide     sufficient    evidence     such    that   a    jury    could   reject

 Defendants’ explanation. Manzer v. Diamond Shamrock Chemicals Co.,

 29 F. 3d 1078, 1083 (6th Cir. 1994).           Specifically, Plaintiff must

 show   by   a     preponderance   of   the    evidence    either    1)   that   the


                                         12
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 13 of 18 PAGEID #: 1392



 proferred reasons have no basis in fact, 2) that the proffered

 reasons did not actually motivate the decision, or 3) that the

 reasons were insufficient to motivate the action.                Id. at 1084.

             Plaintiff contends there is sufficient evidence to show

 pretext    as    to   Defendants’   explanation     for    his   termination.

 Plaintiff contends the evidence shows Sumner claims he decided to

 recommend       Plaintiff’s     termination    after      Plaintiff’s   alleged

 insubordination on August 20, 2007 (doc. 44).               However, Plaintiff

 contends such reason did not actually motivate the decision,

 because DeSantis told him on August 16, 2007 that the decision to

 terminate him had already been made (Id.).                Moreover, Plaintiff

 contends that evidence shows he was actually working on the

 projects Sumner alleged Plaintiff was refusing to perfom, and

 Sumner acknowledged such fact in his deposition (Id.).

             Defendants reply that DeSantis has no recollection of

 making a statement to Plaintiff that he was going to be fired, and

 that Sumner clearly viewed Plaintiff’s behavior on August 20 as

 insubordinate (doc. 48).         Defendants proffer an email showing that

 Plaintiff knew Sumner and DeSantis would be livid over his refusal

 to respond to a query by the FDA, as Plaintiff wrote, “If you

 decide to clean out my office–pls help yourself to an espresso”

 (Id.).      In    Defendants’    view,    no   reasonable    jury   could   find

 Plaintiff was not refusing to complete tasks, and that he knew he

 was at risk for termination due to his insubordination (Id.).


                                          13
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 14 of 18 PAGEID #: 1393



              Having reviewed this matter, the Court finds Plaintiff

 has proffered adequate evidence that a reasonable jury could find

 Defendants’ proffered justification for Plaintiff’s termination did

 not actually motivate their decision.            Clearly, a jury might see

 it Defendants’ way.        Evidence shows that Plaintiff was strong-

 willed and arguably difficult to work with.            Yet other evidence in

 the record shows Plaintiff was hired into a challenging role that

 required him to butt heads with his colleagues.             Further evidence

 shows      Plaintiff   received     good    evaluations.         Under    these

 circumstances, taking all inferences in favor of the Plaintiff, as

 the Court is required to do here, the Court finds Plaintiff has

 proffered adequate evidence to support a showing of pretext.                  As

 such, Plaintiff’s claim for disability discrimination with regard

 to   his    termination    survives    Defendants’      motion   for     summary

 judgment.

       B. Retaliation

              In order to establish a prima facie case of retaliation,

 Plaintiff must show 1) that he engaged in protected activity, 2)

 that Defendant was aware of such activity, 3) that Defendant took

 adverse action against Plaintiff, and 4) that there is a causal

 connection between such activity and the adverse action.                 Lockett

 v. Marsh USA, Inc., 354 Fed. Appx. 984, 997 (6th Cir. 2009).

 Plaintiff claims there is no dispute as to the first and third

 elements, as he clearly engaged in protected activity when he


                                        14
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 15 of 18 PAGEID #: 1394



 complained personally and through an attorney about being put on

 leave and being evaluated, and he suffered an adverse action when

 Defendants terminated his employment (doc. 44).               Defendants argue

 rather that Plaintiff neither shows that Sumner and Dobler knew he

 had   engaged    in   protected    activity,       nor    raises    a   reasonable

 inference of a causal connection between his protected activity and

 his termination (doc. 37).        Plaintiff contends in response that a

 jury could reasonably infer that either DeSantis or Fletcher or

 anyone who assisted them in responding to Plaintiff’s counsel’s

 letters    shared     the   information     with   Dobler     and   Sumner   that

 Plaintiff had hired counsel (doc. 44).              Plaintiff contends it is

 not necessary for Dobler or Sumner to admit they knew he had hired

 counsel so as to give rise to the reasonable inference that they

 knew (Id.).       As for the causal connection, Plaintiff further

 argues, citing Nguyen v. City of Cleveland, 229 F.3d 559, 563 (6th

 Cir. 2000), that the burden of establishing a prima facie case in

 a retaliation action is not onerous (Id.).               Plaintiff contends the

 Court can draw a reasonable inference of a causal connection based

 on the temporal proximity between his termination and his having

 hired an attorney (Id.). Defendant replies that the Court may make

 reasonable inferences, but not giant leaps of faith and fact, as

 there is no evidence that Sumner knew Plaintiff had engaged an

 attorney (doc. 48).

             Having reviewed this matter, the Court finds Plaintiff’s


                                        15
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 16 of 18 PAGEID #: 1395



 position well-taken that he has established a prima facie case for

 retaliation for having opposed his involuntary leave and for having

 engaged    an   attorney.      Evidence     shows   that   DeSantis   appeared

 frustrated and annoyed by Plaintiff’s having hired an attorney.

 Evidence further shows that both DeSantis and Fletcher, who knew of

 Plaintiff’s retention of counsel, played a role in the termination

 process.    DeSantis approved Sumner’s recommendation that Plaintiff

 be fired.       Evidence further shows that Sumner simply did not

 recall whether DeSantis told him that Plaintiff hired an attorney,

 in fact Sumner stated in his deposition “I don’t deny that she told

 me.”      Similarly, Dobler does not recall having knowledge that

 Plaintiff retained counsel while Plaintiff was still employed at

 EES.   A jury can evaluate a witness’s memory and credibility, and

 here, such a determination is appropriate.

             The Court further finds Plaintiff’s position correct that

 he has proffered adequate evidence to support causation.                 In the

 Sixth Circuit, temporal proximity between protected activity and an

 adverse employment action can establish a causal connection where,

 as here, the proximity in time is approximately six months or less.

 DeCarlo v. Potter, 358 F.3d 408, 421 (6th Cir. 2004).

             The Court’s analysis regarding pretext, above, is equally

 applicable to Plaintiff’s retaliation claim.            As such, Plaintiff’s

 claim for retaliation survives summary judgment.




                                        16
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 17 of 18 PAGEID #: 1396



       C. Public Policy

               Plaintiff’s      public   policy      claim    under   Ohio    law   is

 premised on the theory, like his retaliation claim, that Defendants

 improperly terminated his employment for consulting an attorney.

 The Court finds no question that it is against the clear public

 policy of the state of Ohio for an employer to terminate an

 employee for retaining legal counsel.                   Simonelli v. Anderson

 Concrete Co., 99 Ohio App.3d 254, 259 (Ohio Court App. 1994)(“the

 act of firing an employee for consulting an attorney could serve as

 the   basis    for   a   public    policy     exception      to   the   common-law

 employment-at-will doctrine”).          As Defendants note in their Reply,

 Plaintiff’s     arguments      regarding     such    claim    are    substantially

 identical to those with regard to his retaliation claim (doc. 48).

 The   Court    finds     its    analysis     above    regarding      the    parties’

 contentions as to retaliation equally applicable here.                      As such,

 the Court denies Defendants’ motion for summary judgment as to

 Plaintiff’s public policy claim, finding genuine issues of material

 fact as to whether Defendants terminated Plaintiff’s employment

 based on his retention of legal counsel.

 IV.   Conclusion

               Defendants have proffered much evidence that Plaintiff

 was a difficult employee.         A jury might be persuaded that this was

 indeed that case, and that Defendants were justified in terminating

 Plaintiff’s employment. However, the Court finds adequate evidence


                                         17
Case: 1:09-cv-00167-SAS-SKB Doc #: 51 Filed: 03/23/11 Page: 18 of 18 PAGEID #: 1397



 in the record to establish the prima facie elements for Plaintiff’s

 claims of disability discrimination, retaliation, and violation of

 Ohio public policy.          As Plaintiff has made a reasonable showing

 that    Defendants’      articulated         reason     for    his     termination,

 insubordination,       was    not   actually    the    reason    motivating     such

 adverse action, a jury could find pretext.                    As such, the claims

 that Plaintiff has not conceded survive Defendants’ motion for

 summary judgment.

             Accordingly, the Court GRANTS in part and DENIES in part

 Defendants’ Motion for Summary Judgment (doc. 37), such that

 Plaintiff’s claims for breach of contract, promissory estoppel and

 wrongful discharge in violation of public policy are DISMISSED;

 while Plaintiff’s remaining claims for disability discrimination,

 retaliation,     and    for    violation       of     Ohio    public   policy    are

 appropriate for a jury’s consideration.                The Court therefore sets

 this matter for a final pretrial conference at 2:00 P.M. on April

 14, 2011, and for a three-day jury trial, to commence May 24, 2011,

 on an on-deck basis.



        SO ORDERED.



 Dated: March 22, 2011                 /s/ S. Arthur Spiegel
                                      S. Arthur Spiegel
                                      United States Senior District Judge




                                         18
